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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 PHILIP R. MCHUGH,                             )
                                               )
                                               )   Case No. 1:21-cv-00238
                                               )
                Plaintiff,                     )   Honorable Michael R. Barrett
                                               )
 v.                                            )
                                               )
 FIFTH THIRD BANCORP, ET AL.,
                                               )
                Defendants.                    )

 MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE A SUR-REPLY

       As illustrated in RHR’s [Proposed] Sur-Reply in Opposition to McHugh’s Motion to

Compel, attached hereto as Exhibit A, McHugh’s Reply raises new arguments that go well beyond

any issue implicated by RHR’s Response brief, and mischaracterizes both the arguments posed by

RHR in its Response and the law of the cases on which McHugh relies. RHR should be afforded

the opportunity to address these new arguments and misstatements.

       Under Local Rule 7.2(a), this Court may permit a party to file a sur-reply brief “upon leave

of court for good cause shown.” This Court has found good cause where the replying party raised

an issue for the first time in a reply brief (Geiger v. Pfizer, Inc., 271 F.R.D 577, 580– 581 (S.D.

Ohio 2010) and where the party seeking to file a sur-reply sought to “clarify misstatements”

contained within the reply brief (Guyton v. Exact Software N. Am., No. 2:14-CV-502, 2015 WL

9268447, at *4 (S.D. Ohio Dec. 21, 2015)). This Court has also permitted sur-replies where the

party seeking to file a sur-reply failed to make such a showing but the Court found the moving

party “will suffer no prejudice by the filing of the sur-reply.” Nat’l City Bank v. Aronson, 474 F.

Supp. 2d 925, 930 (S.D. Ohio 2007) (noting that “in this circuit, there is a strong preference that

claims be adjudicated on their merits”) (internal citations omitted).
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         Circumstances such as these provide the grounds on which a sur-reply may be permitted.

Accordingly, RHR respectfully requests that this Court grant it leave to file its [Proposed] Sur-

Reply in Opposition to McHugh’s Motion to Compel attached hereto as Exhibit A.

Dated:    May 31, 2024                              Respectfully submitted,

                                                    By: /s/ Nicole C. Mueller
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Court via the Court’s CM/ECF system on May 31, 2024, which will serve all

counsel of record.


                                           By:    /s/ Nicole C. Mueller
                                                  Nicole C. Mueller
